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                    IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                                        NO. 4:12CR00014 SWW

JOHNNIE CAMPBELL, ET AL



                                                  ORDER


        Pending before the Court is the government’s motion to terminate former Assistant U.S. Attorney,

Patricia S. Harris, as counsel of record in the above-styled case as to all defendants. For good cause shown,

the Court will grant the government’s motion.

        IT IS THEREFORE ORDERED that the motion to withdraw as counsel of record by Patricia S.

Harris [doc #703] is hereby granted, and Patricia S. Harris is hereby relieved from any further representation

of the government in this matter.

        IT IS SO ORDERED this 16th day of November 2015.




                                                           /s/Susan Webber Wright
                                                           United States District Judge
